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                                              October 22, 2018

United States Attorney for the District of Columbia
Judiciary Center Building
555 4th Street, N.W.
Washington, DC 20530

Re: United States v. John W. Hinckley, Jr., Case No. 1981‐ CR‐ 306

Introduction:

I was retained by the Office of the U.S. Attorney to independently review John W. Hinckley’s
mental condition and risk of dangerousness, with respect to proposed modifications of the
requirements specified in U.S. District Court Judge Paul L. Friedman’s 2016 court order
governing Mr. Hinckley’s convalescent leave. Judge Friedman signed the order approving the
government’s motion to retain this psychologist on August 17, 2018:

         ORDERED that Dr. Mitchell Hugonnet, may conduct such examination of John
         W. Hinckley in order to determine Mr. Hinckley’s present mental condition and
         risk of dangerousness if unconditionally released or conditionally released under
         the conditions proposed by the Department of Behavioral Health.

The Violence Risk Assessment Report authored by Samantha M. Benesh, Psy.D., ABPP on
behalf of and under the auspices of the Department of Behavioral Health considered these
proposed modifications to Mr. Hinckley’s current court order, signed by Judge Paul L. Friedman
on July 27, 2016. Mr. Hinkley was discharged from St. Elizabeths Hospital inpatient services to
full-time convalescent leave on September 10, 2016.

         Mr. Hinckley was referred by FOPD for an updated risk assessment. The purpose
         of this assessment was to provide risk management recommendations relevant to
         his convalescent leave status and long-term treatment planning. Specifically, the
         Forensic Outpatient Review Board is seeking recommendations regarding the
         court modifying the conditions of Mr. Hinckley’s release to permit him to:

         a.        Reduce visits with Dr. Johnson at FOPD in Washington, DC;
         b.        Reduce phone contact with Dr. Johnson;
         c.        Display and/or sell his artistic works, such as photographs, paintings and
                   music;
         d.        Live independently;
         e.        Travel independently outside the 30-mile radius stipulated in the current
                   order;
         f.        Obtain a website to sell items as part of his antique mall business;


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         g.        Transfer his care from his current treatment providers to the public
                   mental health system in Virginia, namely Colonial Behavioral Health.

         When asked about his current community supervision plan and goals for the
         future, Mr. Hinckley stated his current court order lists nearly 35 conditions for
         his release, which are “all easy to follow.” However, he noted several conditions
         he would like to see modified in the future. Mr. Hinckley stressed that the court
         recognizing his ability to care for himself and live independently was his main
         goal, but he also is requesting that the conditions of his release to be modified to
         allow him to travel to Richmond and Norfolk independently; reduce contact with
         Dr. Johnson; permit him to share his music online anonymously; and authorize
         online sale of items for his                 .




Executive Summary:
John W. Hinckley, Jr. is a 63-year-old man (DOB: May 29, 1955), presently residing in
Williamsburg, Virginia in the Hinckley family home. Mr. Hinckley shot President Ronald Reagan
and others in a foiled assassination attempt, outside the Washington Hilton Hotel, on March 30,
1981. The bullets struck the President, Press Secretary James Brady, Secret Service Agent
Timothy McCarthy, and Metropolitan Police Officer (MPD) Thomas Delahanty. Mr. Hinckley
was adjudicated Not Guilty by Reason of Insanity (NGBRI), by jury trial, on June 21, 1982. The
jury verdict found Mr. Hinckley NGBRI with respect to four counts of attempted murder, four
counts of criminal possession of a weapon, and four counts of possession of a prohibited weapon.
The next day, on June 22, 1982, Mr. Hinckley began a 34-year forensic inpatient commitment to
the John Howard Pavilion (JHP), Saint Elizabeths Hospital’s (SEH) forensic inpatient services
division. On July 27, 2016, the Court granted Mr. Hinckley convalescent leave. Mr. Hinckley was
discharged from inpatient care at SEH on September 10, 2016. Mr. Hinckley is presently on
convalescent leave and requesting modifications to Judge Friedman’s July 27, 2016 order.

Mr. Hinckley’s social history, and his extensive 36 year legal and mental health history are well
documented in the reports I have reviewed and referenced below. Please refer to these reports and
records for this information.

Mr. Hinckley has been living at the home of his mother, JoAnn Hinckley and older brother, Scott
Hinckley in Williamsburg, Virginia. Mr. Hinckley remains under the supervision of the District
of Columbia Department of Behavioral Health (DBH) Forensic Outpatient Department (FOPD);
every month he reports to senior psychiatrist Nicole Johnson, MD, at the DBH office on 35 K St.,
NW, in Washington, DC. Mr. Hinckley drives himself to these monthly appointments in the
District of Columbia. Mr. Hinkley maintains telephone contact with Dr. Johnson weekly. Both
report that this arrangement has been working very well. In Williamsburg, Mr. Hinckley is in
active treatment with a multidisciplinary treatment team; Mr. Hinckley holds all members of his
treatment team in high regard. The treatment team is presently comprised of psychiatrist, Deborah
Giorgi-Guarnieri. MD (Dr. G-G), individual and group therapist Carl Beffa, LCSW, case
manager Jonathan Weiss, LCSW, and music therapist Nicole Drozd, MS, MC-BT. Mr. Hinckley
has worked with Dr. G-G, Mr. Weiss and Mr. Beffa going on 3 years now.

The consensus of the Virginia treatment team and DC DBH Dr. Nicole Johnson is that Mr.
Hinkley’s progress has been excellent. Mr. Hinckley’s mental status has remained stable,


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asymptomatic and within normal ranges across multiple emotional and behavioral domains. All
of the Mr. Hinckley’s current treating professionals consider Mr. Hinckley to be at low risk for
psychological decompensation (e.g. depression and extended isolation) and consequently at low
risk for harming others.

Dr. Sidney Binks was Mr. Hinckley’s individual therapist at St. Elizabeths since 1998, for
approximately 19 years; Dr. Binks terminated with Mr. Hinckley on March 22, 2017. Dr. Binks’s
termination note contained a sole diagnosis of Major Depressive Disorder, with psychosis, in
remission. Dr. Binks (and other evaluators) noted that Mr. Hinckley never suffered a recurrence
of psychosis or Major Depressive Disorder during the 19 years Dr. Binks had direct knowledge of
Mr. Hinckley. Dr. Binks believes that Mr. Hinckley’s risk for future violence will be “entirely
dependent” on whether Mr. Hinckley becomes “severely depressed, with no treatment, for a long
time.” Other risk assessors, (Drs. Carpenter and Murphy), had already put forth similar opinions
that were consistent with Dr. Binks’ March 2017 termination note.

Simply put, if Mr. Hinckley remains in treatment, defined here as adhering to the conditions,
requirements and programming specified in Judge Friedman’s current and subsequent
convalescent leave court orders, Mr. Hinckley’s risk for becoming depressed and isolated is low.
Sustaining these negative conditions over a sustained period of time would be impossible with the
extensive monitoring, multiple weekly treatment contacts and near daily programming
requirements and guidelines that are spelled out in the convalescent leave orders issued by Judge
Friedman. Mr. Hinckley’s risk for psychosis is especially low under present court ordered
conditions; it follows that risk of violence has been and remains especially low and unlikely. Risk
of violence is the last and least probable link in a four or five link chain; four other conditions
must be in effect before risk of violence becomes remotely possible.

The treatment plan in effect since Mr. Hinckley began full time convalescent leave, has been
comprehensive, with specific goals, plans and responsibilities for implementing and monitoring
treatment adherence and progress. Mr. Hinckley’s current treatment team believes that he will
continue to make significant strides towards independent living; Mr. Hinckley attends all
appointments on time, participates actively in all therapies, and exhibits responsible decision
making. He has been able to successfully apply for government benefits as planned. Mr. Hinckley
maintains a busy schedule, including taking care of his mother, organizing and maintaining the
family household, including cleaning, shopping and meal preparation. Under the supervision of
Mr. Weiss, Mr. Hinckley started his own profitable                    ; he successfully maintains a
                         near his home, keeping it
                      . He anonymously sells books on the internet working with a local pastor
and under supervision of Mr. Weiss. Finally, Mr. Hinckley continues to write and record music
with his guitar and keyboard. He paints and takes photographs; at one point, his photography was
supervised by a retired professional photographer.

Mr. Hinckley has expressed interest in exhibiting his music and art in an anonymous fashion,
without monetary gain. This information was conveyed to me by Mr. Hinckley and members of
his treatment team. Mr. Hinckley’s activities, treatment response and clinical condition are
extensively documented every month by Mr. Hinckley’s treatment team. These records are sent to
DBH monthly and reviewed by Dr. Johnson before being submitted to the US District Court.
During my interviews with Mr. Hinckley, we discussed his requested modifications to the present
court order in effect since his release from inpatient treatment in 2016. Our conversations
included discussions about his life in Williamsburg, thoughts about his future and recollections
from his past. Consistent with current clinical reports and records, (as well as reports and records
from St. Elizabeths spanning 34 years), Mr. Hinckley’s mental status is within normal ranges, he


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is completely asymptomatic. His long-standing mental health diagnoses continue to be in full
remission, as has been the case for the past 20 plus years. Mr. Hinkley continues to adhere to his
prescribed medication regimen, which has remained the same since his final days as an inpatient
at St. Elizabeths Hospital.

DSM-5 Diagnoses:
296.36 Major Depressive Disorder, Recurrent, In Full Remission
298.8 Other Specified Schizophrenia Spectrum and Other Psychotic Disorders
301.81 Narcissistic Personality Disorder
301.20 Schizoid Personality Disorder, premorbid

Medications:
Zoloft 125mg AM & 25mg PM
Risperdal 1mg AM

Interviews:
    • Forensic Interviews and Psychological Assessment:
            o Forensic Clinical Interviews and Psychological Assessment of Mr. Hinckley on
              September 29 & 30, 2018, lasting approximately 9 hours.
                   ▪ Tests Administered:
                           • Minnesota Multiphasic Personality Inventory, second edition,
                               (MMPI-2)
                           • Minnesota Multiphasic Personality Inventory-2, Restructured
                               Form (MMPI-2 RF)
                           • Personality Assessment Inventory (PAI)
                           • NEO-3
    • Collateral Interviews:
            o Telephone interviews with members of Mr. Hinckley’s treatment team in
              Williamsburg, Virginia:
                   ▪ Jonathan Weiss, LCSW, Case Manager, October 12, 2018, 1 hour
                   ▪ Nicole Drozd, MS, MC-BT, Certified Music Therapist, October 14,
                       2018, 1 hour
                   ▪ Deborah Giorgi-Guanari, MD, Psychiatrist, October 16, 2018, 45
                       minutes
                   ▪ Carl Beffa, LCSW, Group & Individual Therapist, October 22, 2018, 15
                       minutes
            o Telephone interview with DC Department of Behavioral Health:
                   ▪ Nicole R. Johnson, MD, Psychiatrist, Director FOPD October 12, 2018,
                       25 minutes
            o Collateral Interviews with Mr. Hinckley’s family
                   ▪ JoAnn Hinckley, mother, September 30, 2018, 1 hour
                   ▪ Scott Hinckley, older brother, September 29, 2018, 1 hour
            o Consultation with Raymond Patterson, MD, Forensic Psychiatrist, October 14,
              2018, 25 minutes

Documents Reviewed:

SEH/JHP Inpatient Records:
    •    Report of Forensic Psychiatric Evaluation by Thomas Goldman, MD, November 09,
         1981


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    •    Report of Forensic Psychiatric Evaluation by William Carpenter Jr., MD, November 13,
         1981
    •    Report of Forensic Psychiatric Evaluation by David Bear, MD, October 25, 1981
    •    Psychological Test Report by Thomas J Polley, PhD, July 28, 1982
    •    Bolton Report by Glenn Miller, MD, July 30, 1982
    •    Order of Commitment, US District Court, Washington, DC, August 10, 1982
    •    Nursing Note re: Mr. Hinckley’s suicide attempt by Esther Moore, February 13, 1983
    •    Neurological Consultation by Kenneth Rickler, MD, March 4, 1983
    •    Psychological Evaluation by Timothy Koltuniak, PhD, August 2, 1985
    •    Psychiatric Evaluation Report by Glenn Miller, MD, February 12, 1987
    •    Clinical Summary by David Powell, PhD, September 11, 1989
    •    Recommendation for Transfer by John D Wilson, MSW, November 27, 1990
    •    Recommendation for Transfer to Minimum Security by Susan Lerner, PhD, May 11,
         1992
    •    Recommendation for Class D Privileges by John Kelley, MD, October 8, 1992
    •    Status Report by John Kelley, MD, January 3, 1996
    •    Psychiatric Evaluation by William T. Carpenter Jr, MD, November 16, 1996
    •    Psychological Evaluation by David Shapiro, PhD, November 18, 1996
    •    Psychological Evaluation by R. Mark Binderman, PhD, November 20, 1996
    •    Recommendation for B City Privileges by John Kelley, MD, May 30, 1997
    •    Forensic Mental Health Assessment by Kirk Heilbrun, PhD, June 3, 1997
    •    Psychological Risk Assessment by Paul Montalbano, PhD, February 8, 1999
    •    Psychological Risk Assessment Update by Paul Montalbano, PhD, November 30, 1999
    •    Updated Risk Assessment by Paul Montalbano, PhD, January 22, 2003
    •    Psychological Testing Update by Paul Montalbano, PhD, August 4, 2003
    •    Psychiatric Evaluation Report by Raymond Patterson, MD, October 29, 2004
    •    Psychiatric Evaluation Report by Robert Phillips, MD, November 1, 2004
    •    Psychological Risk Assessment Update by Paul Montalbano, PhD, November 1, 2004
    •    Psychological Risk Assessment Update by Paul Montalbano, PhD, March 30, 2007
    •    Psychological Risk Assessment Update by Paul Montalbano, PhD, May 28, 2008
    •    Comparison of Psychological Testing, 1981-2008
    •    Violence Risk Assessment Update by Katherine Murphy, PsyD, August 31, 2011
    •    Forensic Psychiatric Report by Raymond Patterson, MD, November 14, 2011
    •    Forensic Psychiatric Report by Robert Phillips, MD, November 17, 2011
    •    Violence Risk Assessment Update by Katherine Murphy, PsyD, March 31, 2015
    •    Court Opinion & Order for Conditional Release on Convalescent Leave by US District
         Judge Paul L. Friedman, July 27, 2016

DBH/FOPD Outpatient Records:
    •    Nicole R. Johnson, MD, monthly progress notes, September 2016 to September 2018
    •    Treatment Team Progress Notes by Jonathan Weiss, LCSW, Carl Beffa, LCSW, Deborah
         Giorgi-Guarnieri, MD, Nicole Drozd, MS, MT-BC, Sidney Binks, PhD (DBH), and Les
         Solomon, September 2016 to September 2018
    •    John Hinckley, Handwritten Daily Activity Logs, October 2016 to September 2018




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Forensic Qualifications:
I have practiced forensic psychology for 30 years in a variety of evaluation and treatment settings.
Over the course of two (2) years I completed an APA internship and residency in clinical
psychology under the auspices of the clinical division of the National Institute of Mental Health
(NIMH), St. Elizabeths Hospital (SEH) in the forensic inpatient division, John Howard Pavilion
(JHP). Three years later I returned to St. Elizabeths’ JHP where I directed a forensic inpatient pre-
trial evaluation and treatment unit for 14 years. My forensic work at SEH-JHP included training
psychology interns, residents and medical students. In this capacity, I personally conducted pre-
and post-trial forensic assessments involving competence to stand trial (CST), criminal
responsibility (insanity), competency to waive the insanity defense (Frendak), Miranda rights
waivers, sexual and violence risk assessments, and eligibility for civil commitment.

For 15 years, I have been a supervisory forensic psychologist at the Child Guidance Clinic of the
Superior Court of the District of Columbia; I served as the Director of Internship Training at the
Clinic for nine years. The Clinic conducts forensic evaluations and provides specialized
treatment, including risk management, for adolescents in Washington, DC’s juvenile justice
system. As the Director of Internship Training for the Superior Court’s APA accredited
psychology internship program, I developed and administered a comprehensive clinical training
program with an emphasis on forensic psychological assessment of delinquent youth charged in
the Family Division of Superior Court. These court-ordered evaluations include competence to
stand trial (CST), competency to waive Miranda rights, juvenile transfer to adult court,
assessment of violence and sex offense risk, neuropsychological, psychological and psycho-
educational assessments, both pre- and post-disposition. I regularly conduct juvenile CST
assessments and I designed and direct the Superior Court’s juvenile trial competency attainment
training program (CAT). In 2004, I developed and continue to direct the SAVE (Sexual Abuse
Violates Everyone) assessment and treatment program for juvenile sex offenders adjudicated and
supervised by the Superior Court of the District of Columbia; until recently, SAVE was the first
and only juvenile sex offender treatment program in Washington, DC.

In my private practice with adult forensic cases, I have been qualified as an expert witness in
forensic psychology in U.S. District Courts in Maryland, Virginia and Washington, DC, state and
county courts in Maryland, Virginia and Washington, DC. I have never failed to qualify as an
expert in any jurisdiction. I regularly conduct privately retained adult CST evaluations, sexual
and violence risk assessments, insanity examinations, and sentence mitigation. I have been
retained by both the United States Attorney and the Public Defender Service in the DC
metropolitan area.

I served as consulting psychologist to Police and Fire Clinic Associates for eight years (2001-
2008). In this capacity, I conducted over 200 psychological and neuropsychological evaluations
to determine fitness for duty or retirement disability for the Metropolitan Police Department
(MPD) and District of Columbia Fire Department (DCFD) in Washington, DC.

To practice in Virginia, I completed training in juvenile and adult forensic assessment at the
University of Virginia’s Institute of Law, Psychiatry & Public Policy (ILPPP). ILPPP training is
required to practice forensic psychology in Virginia. I am certified (CSOTP) by the
Commonwealth of Virginia to evaluate and treat individuals charged with and convicted of sex
offenses. I completed post-doctoral training in clinical neuropsychology at the Fielding Graduate
University under the supervision of Dr. Allan F. Mirsky.




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Disclosure of Limited Confidentiality and Interview Parameters:
The interviews and psychological testing of Mr. Hinckley, his mother and brother were conducted
at the family residence in Williamsburg, VA on September 29 & 30, 2018. Members of the
treatment team were interviewed by telephone. Prior to each interview, all were advised of the
parameters of the interview and limits of confidentiality:
    •    This psychologist was retained by the Office of the U.S. Attorney to review the status of
         Mr. Hinckley’s convalescent release.
    •    U.S. District Court Judge Paul L. Friedman issued an order approving the government’s
         motion to retain this psychologist on August 17, 2018.
    •    As applicable, all those interviewed were informed that their interview would be recorded
         and was not confidential; likewise, testing and all provided records associated with the
         Hinkley case, would not be confidential. Interviewees were informed that any
         information provided to me may be contained in my forensic report which would be
         provided to all parties, including the Court, government and the defense. Furthermore,
         Court testimony may be required which would likely involve sharing this information in
         open court.
    •    Mr. Hinckley, family members, and members of his treatment team referenced above,
         affirmatively stated an understanding of these limits of confidentiality and associated
         parameters of this evaluation. All verbalized consent to be interviewed and recorded.
         After affirming an understanding of these caveats, the interviews commenced.
Psychological Testing:
As referenced above, I administered four psychological tests to Mr. Hinckley on September 29 &
30, 2018 in the family residence. Three of these tests were broad band measures of
psychopathology typically used in forensic settings and used in prior risk assessments by
clinicians at St. Elizabeths Hospital and John Howard Pavilion. The fourth test assessed normal
personality rather than psychopathology. There were no indications of psychopathology in the
present testing; results were within normal ranges across all three tests. The primary domains of
interest with respect to Mr. Hinckley’s risk of mental decompensation or risk of dangerous
behavior, his measured level of depression, degree of social isolation, presence of significant
narcissism, antisocial attitudes, were not elevated at all.
Not only were Mr. Hinckley’s psychological test results remarkably consistent with each other,
these test results were comparable to results from the psychological testing administered by St.
Elizabeths Hospital/John Howard over the past 10 to 20 years that reflected clinical improvement
over time. Tracing Mr. Hinckley’s psychological test results over 30 plus years, the graphed
results steadily move downward over the decades; Mr. Hinkley’s early hospital profiles were
highly elevated due to his severe mental illness. Over years of continuous inpatient treatment, as
his mental health and behavioral stability improved, the test profiles begin dropping from being in
high ranges of severe psychopathology in the 1980’s to the flattened low normal range profiles
evident in this century.
The clinical profiles derived from the present administration of the MMPI-2, MMPI-RF, and PAI
were essentially within normal limits. There were no elevations on clinical scales measuring
degrees of psychopathology. There were the usual elevations on the Repression and Superlative
Self-Presentation scales, which are manifestations of chronic traits of defensiveness that are
characterological in nature – to prop up his self-esteem, rather than any attempt to consciously
manipulate answers to appear well adjusted. Dr. Murphy’s 2015 Risk Assessment noted this
pattern:


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         Mr. Hinckley has produced this profile pattern marked by defensiveness at every
         administration since evaluated by Marc Binderman, Ph.D. in 1995 and David
         Shapiro, Ph.D. in 1996. Dr. Shapiro offered [that Mr. Hinckley’s] self-favorable
         …approach to the inventory…appears entirely attributable to emotional reserve
         and to genuinely self-favorable attitudes, rather than any deliberate effort to bias
         his responses to look good (on the test).
These current results are generally consistent with multiple test administrations by St.
Elizabeths/John Howard as part of the formal risk assessments prepared for Mr. Hinckley’s court
hearings. These normal range test results, over this very long period of time, accurately reflects
the successful treatment of Mr. Hinckley’s mental illness and his post-illness mental and
behavioral stability reflected in decades of unremarkable entries in Mr. Hinckley’s inpatient
hospital records, by multidisciplinary treatment providers over two decades. Furthermore, the
current test results were completely in line with the positive reports from Mr. Hinckley’s
treatment team, a consensus of his treatment providers in both Williamsburg, Virginia and
Washington DC.
NEO-3
Test results from NEO-3 describe Mr. Hinckley as an agreeable individual. He is good natured,
trusting, well-intended, cooperative, helpful, and modest. He is kind and quick to forgive if
slighted. Mr. Hinckley rarely experiences episodes of psychological distress. He is not sensitive
or moody; he is calm and even-tempered. Mr. Hinckley is willing to consider novel ideas but he
does not seek novelty for its own sake. Mr. Hinckley has a normal need for achievement. He is
organized and reliable. Mr. Hinckley enjoys the company of other people but has periods when he
prefers to be alone. He has an average energy and activity level. He has the capacity to experience
pleasant, cheerful feelings.
Mr. Hinckley is said to cope with everyday life stresses and challenges by using humor, problem
solving and direct action. Mr. Hinckley is unlikely to react with hostility toward others, self-
blame, or escapist fantasies.
Results of Violence Risk Methods:
The Violence Risk Assessment by Samantha M. Benesh, Psy.D., ABPP, done on behalf of and
under the auspices of the Department of Behavioral Health, employed two methods to assess Mr.
Hinckley’s risk of future violence: The HCR-20 Version 3, employs the structured professional
judgment method to evaluate risk factors. The HCR-20 is a widely used method of violence risk
assessment. I reviewed Dr. Benesh’s ratings for each of the 20 items that comprise the HCR-20
Version 3. I agree with her ratings and her consequent conclusion that Mr. Hinckley is at low risk
for future violence according to the HCR-20 Version 3. The actuarial method of evaluating risk of
future violence, the VRAG-R was scored properly and placed Mr. Hinckley in the second lowest
of nine risk categories. In 2015, Katherine Murphy’s VRAG results were identical, placing Mr.
Hinckley in the second lowest risk of re-offense category.
Interviews:
Interview with Jonathan Weiss, LCSW:
Mr. Weiss, Mr. Hinckley’s case manager in Williamsburg, Virginia, has been working
therapeutically with Mr. Hinckley for approximately four years. Mr. Weiss was involved in
planning for Mr. Hinckley’s full-time convalescent leave, came his full-time case manager
approximately two years ago and maintains an excellent therapeutic relationship with Mr.
Hinckley as well as the confidence of the Hinckley family. Mr. Weiss said that he is very proud
of John described him as doing an excellent job over the past two years living full time in the


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community. Mr. Weiss described Mr. Hinckley as becoming progressively more resilient after
facing multiple rejections for jobs, volunteer activities and social engagement. Mr. Weiss recalled
how shy and quiet Mr. Hinckley was two years ago; Mr. Weiss stated that John has exceeded the
goals set for him by his treatment team in many areas of functioning. For example Mr. Weiss
stated that nowadays Mr. Hinckley believes in himself, he is not shy or timid as he was two years
ago, he is more interested in people and he has become competent at managing his own affairs.
Mr. Weiss added that Mr. Hinckley was managing his mother’s health issues compassionately
and actively. Mr. Weiss stated that Mr. Hinckley is active every day. Although Mr. Weiss sees no
need for Mr. Hinckley to continue documenting his activities in daily logs, (a modification to the
court order that this psychologist disagrees with), my inspection of logs confirmed how busy Mr.
Hinckley tends to be every day.
Mr. Weiss described Mr. Hinckley’s                               as a continuing success story. His
small business there structures his time, motivates him to learn about
     , provides opportunities to learn business skills and to connect constructively with other
people. Mr. Weiss reported John’s confidence in working with others and being with others
comfortably has been greatly enhanced by his efforts at the       . Mr. Weiss’s opinions were in
line with Mr. Hinckley’s own views about the beneficial effects of his business at
     . Mr. Weiss stated that Mr. Hinckley has good relationships with other small businessmen at
the              . There have been no problems with members of the public harassing Mr.
Hinckley at the

Mr. Weiss spoke highly of Mr. Hinckley’s brother, Scott. He opined that the current plan for John
and Scott to share an apartment together in the future was sound. He believed the brothers will
continue to be a solid source of support for each other. Mr. Weiss has already referred the
brothers to a real estate agent who can help them locate an apartment or condominium when the
time comes for them to leave the family house. They plan to look at Newport News and Norfolk
in addition to Williamsburg for appropriate, safe housing.

Mr. Weiss discussed his views about treatment planning for Mr. Hinckley over the next two
years. Mr. Weiss believes that he and Mr. Hinckley’s therapist, Carl Beffa, will probably retire at
the end of two years so a new arrangement will need to be developed prior to that event and
adequate time should be allowed (several months) for the transition in service providers. While
present case management and therapy will stay in place for the next two years, Mr. Hinkley’s
psychiatrist, Dr. G-G, will terminate with Mr. Hinkley in mid to late 2019.

Mr. Weiss corroborated what Mr. Hinckley had told this psychologist, namely that, he [Mr.
Hinckley] knows virtually every point of his lengthy court order and is scrupulous about
following every point. For example, Mr. Weiss noted that Mr. Hinckley has been especially
conscientious about sticking to the mileage limit imposed upon him for solo driving. When Mr.
Weiss and Mr. Hinckley plan a trip, Mr. Hinckley measures and checks the mileage to be sure the
trip is appropriate. Mr. Weiss reports that Mr. Hinckley tends to be on time or early for all of his
appointments and has been even more conscientious about his mother’s medical appointments.
Mr. Hinckley was responsible for the majority of his mother’s care after she fell and suffered
immobilizing injury. Mrs. Hinckley is presently recovering well, due in no small part to her son’s
daily and strenuous efforts caring for her.

Reflecting upon an incident where a young woman called the police when Mr. Hinckley sent a
note to her asking her out for coffee, Mr. Weiss believes that problematic situation may have been
do to the fact that the treatment team may push Mr. Hinckley too hard to socialize, without
working out step-by-step plans in advance of making such a specific attempt. In any event, in the


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wake of that incident, Mr. Weiss reports that Mr. Hinckley is more cautious and is reluctant to
take chances meeting any woman without extensive discussion in preparation with his therapist,
case manager, and treatment team.

Mr. Weiss affirms that Mr. Hinckley’s family continues to be a solid support system for him and
Mr. Hinckley reciprocates with significant emotional support for his mother and brother. He
believes communication between the family and all members of the treatment team has been and
continues to be functional and clear.

Mr. Weiss endorsed the following modifications to the court order: Mr. Hinckley should be able
to drive independently destinations such as Richmond, Virginia Beach, Newport News, and
Norfolk Virginia. This would require extending the approved radius from 25 to 75 miles. (On this
point, this psychologist agrees with Mr. Weiss and Mr. Hinckley). Mr. Weiss endorses Mr.
Hinckley’s request to display his photography and artwork                              provided that
complete anonymity is guaranteed and no profit would accrue to Mr. Hinckley. Mr. Hinckley
wants to display his photography and other works of art in an anonymous nonprofit fashion in
order to derive artistic satisfaction from others appreciation of his work. Mr. Weiss also endorsed
Mr. Hinckley’s plan to display his music on the Internet in a fashion that is also guaranteed to be
anonymous and not for profit. This would be done under the supervision of Mr. Hinckley’s music
therapist, Nicole Drozd, who would have exclusive access to the site and vet all music and lyrics.
This vetting of content would need the approval from the treatment team in Virginia and Dr.
Nicole Johnson or her designate in the DC Department of Behavioral Health.

Mr. Weiss summarized Mr. Hinckley’s progress as steady and positive. He reported that therapist
Carl Beffa has been pleased with Mr. Hinckley’s progress, especially his active contributions in
group therapy where John established helpful connections with other members of the therapy
group. Mr. Weiss emphasized how well Mr. Hinckley has learned to navigate through various
bureaucracies to advocate for himself or family members to secure benefits, documents,
appointments, etc.

Interview with Nicole Drozd, MS, MC-BT music therapist:

Ms. Drozd supported efforts to enable Mr. Hinckley to display his photography/artwork or his
music in discrete, safe public forums for others to appreciate. In her professional opinion, this
would be extremely therapeutic for Mr. Hinckley as long as there were procedures in place to
maintain his anonymity as the artist and ensure no monetary gain would accrue to Mr. Hinckley.
She had appropriate concerns about doing each project slowly and deliberately, one project at a
time. In other words, Mr. Hinckley would have to choose between displaying his photography
and art             versus displaying his music on the internet. She did not endorse public
performances for either his music or artwork. She pointed to technical and logistical issues that
would need to be identified and worked out for either of these new ventures to succeed; therefore
initiating and completing one project before starting the other project would be essential for her to
endorse this modification to the court order. (I agree with Ms. Drozd’s therapeutic opinion and
her practical guidelines.) Ms. Drozd would be the point person for the display of recorded music
online. She alone would have the passwords needed to implement any change to music displayed
online. The account would likely be in her name or anonymized in; this would not be Mr.
Hinckley’s account. She would do initial vetting of the music and lyrics and send the information
on to the treatment team in Virginia and to Dr. Johnson at DBH for final approval before
uploading to the Internet site. Finally, while Ms. Drozd appreciated how feedback from listeners
would be most therapeutic for Mr. Hinckley, satisfying his need as an artist to connect with an
audience, Ms. Drozd explicitly did not endorse two-way communication (or chats) on the music


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site. In other words, Mr. Hinckley would not be able to respond to listener feedback, or engage in
two-way reciprocal texting between artist and listener. I agree with Ms Drozd; anonymity and all
associated safeguards, would be compromised should Mr. Hinckley be allowed to communicate
with others via the proposed music share site.

Aside from the issues derived from establishing a safe and therapeutic way for Mr. Hinckley to
display his recorded music, Ms. Drozd had many positive things to say about Mr. Hinckley’s use
of music therapy. She agreed with Mr. Hinckley that music therapy should continue once every
month, consistent with present arrangements. She believes that Mr. Hinckley needs music to
comfort himself, process his emotions, formulate and convey his ideas about life to others in a
thoughtful and constructive fashion. She stated that she had listened to at least 10 of his
composed songs, including careful review of his lyrics. She stated that Mr. Hinckley is a good
lyricist and plays guitar and keyboards well. Discuss his songwriting, she described his lyrics as
“thoughtful and sweet” songs, typically inspired by things going on around him. She also said
that he was able to write songs around an assigned theme. She described his mental status as
“positive, there is no depression; John continues to find comfort in this new environment.” Over
the course of working with him during the past year “there been no red flag incidents.” Ms. Drozd
confirmed the task oriented nature of Mr. Hinkley nowadays, noting “his mood is so up when he
is creating.” Ms. Drozd agrees with expanding his independent driving distance to 75 miles.

Interview with Deborah Giorgi-Guarnieri, MD, (or Dr. G-G, as she is known to colleagues and
patients), forensic psychiatrist:

Dr. G-G had multiple positive points to make about Mr. Hinckley’s psychiatric treatment: Mr.
Hinckley keeps all of his appointments, he is compliant with his medication regimen, he rapidly
metabolizes medication, but his medication levels are maintained within a therapeutic range. He
remains on the medications he was taking at St. Elizabeths, namely Zoloft and Risperdal. There
have been no psychiatric emergencies, even in times of high stress; Dr. G-G noted, “he handled
his mother’s illness very well.” Mr. Hinckley’s mental status has remained within normal limits
throughout psychiatric treatment with Dr. G-G: there have been no symptoms of depression or
psychosis noted. Dr. G-G’s report is consistent with medical records and practitioner reports over
decades that note Mr. Hinckley’s mental disorders to be in full remission. Dr. G-G described Mr.
Hinckley’s behavior as predictable and reliable; “John does everything we ask him to do.” Dr. G-
G supports extending Mr. Hinckley’s solo driving range to 75 miles, noting no problems over the
past two years driving himself to DC for monthly appointments with DBH staff. Dr. G-G termed
Mr. Hinkley’s desire to put his music online for others to hear, “a reasonable next step,” as long
as Mr. Hinckley maintains anonymity and does not profit monetarily: “This would be a good way
for John to feel connected, more a part of the world, with other musicians.” Dr. G-G did not
consider Mr. Hinkley’s desire for others to hear his music and receive feedback an example of the
kind of narcissism that is a risk factor for Mr. Hinckley. Dr. G-G said there had been some talk
from the treatment team in Virginia about exploring internet dating for Mr. Hinckley; Dr. G-G
would be opposed to such efforts, as would music therapist Nicole Drozd; both consider internet
dating far too risky, possibly endangering Mr. Hinckley’s personal safety. I agree with both Dr.
G-G and Ms. Drozd, Internet dating is not appropriate for Mr. Hinckley. Dr. G-G confirmed she
would be ending her practice in Newport News within a year; she stated that she will help with
the transition to a suitable psychiatrist. She believes Mr. Hinckley can readily handle this
transition. Dr. G-G (and Mr. Hinckley) acknowledged to me that he had readily transitioned to
many psychiatrists over the course of the past 36 years in treatment.




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Interview with Nicole R. Johnson, MD, Deputy Chief Clinical Officer, DBH, forensic psychiatrist:

As the DBH Chief of Forensic Services, Dr. Johnson has been Mr. Hinckley’s clinical contact
point since his discharge to full time convalescent leave and relocation to Williamsburg Virginia
two years ago. Dr. Johnson was promoted in February 2018 to the position of DBH Deputy Chief
Clinical Officer. Nevertheless, Dr. Johnson is amenable to continuing as Mr. Hinkley’s
monitoring clinician and liaison to the Court for the foreseeable future. Both Dr. Johnson and Mr.
Hinckley acknowledge having a satisfactory professional relationship. Mr. Hinkley told this
psychologist that he was happy to find that Dr. Johnson is continuing to work with him, despite
her promotion. Since discharge from inpatient services in July 2016, Mr. Hinckley drives to the
DBH outpatient department once a month to discuss various treatment issues with Dr. Johnson.
This arrangement allows Dr. Johnson to clinically evaluate and monitor Mr. Hinckley face to
face. Dr. Johnson stated that Mr. Hinckley has never had any problem driving himself from
Williamsburg, Virginia to Washington, DC and back again, on the same day. Dr. Johnson
supports changing the court order to allow Mr. Hinckley to drive solo, within 75 miles of his
residence. Mr. Hinckley asked this psychologist to support changing his meeting schedule with
Dr. Johnson to every other month. I suggested to Mr. Hinckley, and subsequently to Dr. Johnson
that an application such as Skype could be utilized on the months he did not drive to DC. I
believe monthly face to face communication is still helpful to both parties. Both Mr. Hinckley
and Dr. Johnson considered every other month Skype sessions, alternating with every other
month office visits in Washington, DC, a reasonable compromise.

Dr. Johnson’s monthly notes document Mr. Hinckley’s stable mental status and schedule of
activities in great detail. Dr. Johnson described Mr. Hinckley as “a likable person,” with a “wry
sense of humor.” Dr. Johnson stated that Mr. Hinckley was typically receptive to her suggestions
and their therapeutic relationship allowed both of them to “joke with each other.”
Dr. Johnson noted Mr. Hinckley continues to exhibit normal mental status with no evidence for
depression or psychosis. Dr. Johnson noted as a positive factor that the stress associated with
transitioning to convalescent leave after 34 years of hospitalization did not precipitate
decompensation. Furthermore, she stated that Mr. Hinckley has coped exceedingly well with his
mother’s illness the stress and responsibility of taking care of her without any deterioration in his
mental state. Dr. Johnson praised Mr. Hinckley’s comprehensive efforts to nurse his mother back
to health.

Forensic Opinion:
Mr. Hinckley has requested reconsideration of several conditions contained in Judge Friedman’s
convalescent release order signed July 27, 2016. Throughout my assessment, I have approached
each of these requests by explicitly trying to broker a deal or compromise with the involved
parties, to include Mr. Hinckley, his family members and treatment team members in DC and
VA. On the one hand, worthy modifications held promise to sustain, bolster and enhance Mr.
Hinckley’s emotional health, quality of life, meaningful engagement with others, opportunities
for artistic and musical expression, responsible independence, self-esteem, sense of security and
his pursuit of happiness, broadly defined. On the other hand, some elements of a proposed
modification might unnecessarily increase risk for the entire treatment system, the Court and Mr.
Hinckley. Taking each request in order:
        a. Reduction in visits with Dr. Johnson at FOPD in Washington, DC from monthly to
every other month:




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Mr. Hinckley would like to meet with Dr. Johnson in Washington, DC every other month. I
suggested that Mr. Hinckley and Dr. Johnson use Skype every other month to ensure continued
monthly visual contact. Both said this compromise would work for both of them.
         b. Reduction in phone contact with Dr. Johnson from weekly to every other week:
Both Dr. Johnson and Mr. Hinckley agree that weekly phone contact has been helpful.
Nevertheless, both Mr. Hinckley and Dr. Johnson would be willing to reduce phone contact to
every other week, with the option for increased phone contact if necessary.
         c. Display and/or sale of artistic works, such as photographs, paintings and music:
This request is complex; the reader is referred to summaries of my interviews with Mr.
Hinckley’s music therapist and case manager for details. In the course of discussions with Mr.
Hinckley and his treatment providers, two items emerged as non-negotiable. First, Mr. Hinckley
agreed to forgo any and all financial gain or profit from display of his artistic works such as his
photographs, paintings and his recorded musical compositions. Second, Mr. Hinckley agreed to
maintain his anonymity throughout and after the conclusion of any exhibition process; the
exhibition process could include display in a gallery or in a suitable on-line site. Public
performance of his musical compositions would be out of the question because of the need to
maintain and abide by the guiding principal of anonymity. On-line suitability would require site
security, procedures to ensure anonymity and Mr. Hinkley would have no ability administer,
upload or download material or to communicate to or from the on-line site. Mr. Hinckley’s music
therapist, Nicole Drozd, MS, MC-BT, agreed to control the administration of the website and vet
all musical material; she would then forward her recommendations to treatment providers in VA
and DC for final approval. Mr. Weiss, Mr. Hinckley’s case manager would perform similar
functions to display Mr. Hinckley’s photography and paintings
       . Finally, Mr. Hinckley and his treatment team need to choose to display either his art or
his music. These different media pose different, significant and time intensive challenges to
realize these plans. It would be unrealistic if not impossible to attempt both at the same time.
         d. Transition to independent living
Mr. Hinckley plans to continue living with at least one family member for the foreseeable future.
In the event of his mother’s death, Mr. Hinckley and his brother Scott plan to co-locate an
apartment or condominium and live together.
         e. Increase in the approved independent travel distance from 30miles to 75 miles:
Everyone I interviewed agreed that Mr. Hinckley is ready for an extension of his independent
travel up to 75 miles from his residence. This would enable him to pursue additional opportunities
for work, socializing, education, attending events, visiting etc. It should be noted that Mr.
Hinckley has successfully traveled from his home in Williamsburg, VA to Washington, DC (a
distance of more than 150 miles) on a monthly basis to meet with DBH treatment providers.
These journeys have been without incident.
         f. Obtain a website to sell items as part of his            business:
Mr. Hinckley and I did not discuss this request during our time together. This request involves
even more complexity than displaying artworks in a gallery or displaying music online. I,
therefore, do not believe this is feasible at the present time. Displaying recorded music online
might be a useful pilot project to better understand the requirements and issues associated with
the potential creation of an online presence for his                        .
        g. Transfer his care from his current treatment providers to the public mental health
system in Virginia, namely Colonial Behavioral Health:


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I do not have sufficient information to offer an opinion on this issue.
       h. Discontinue use of the daily log of activities that Mr. Hinckley submits to his
treatment team and Dr. Johnson monthly:
Mr. Hinckley’s use of the daily log benefits all parties. I recommend that Mr. Hinckley continue
to document his daily activities and submit the log according to established procedures.
Mr. Hinckley has been engaged in treatment for three decades and has been even more engaged
during his 2 years on full time convalescent leave in Williamsburg, VA. The treatment team in
VA and DC has treated, monitored and documented his hard work and progress towards specific
treatment goals. These treatment goals are addressing remaining vulnerabilities associated with
risk of decompensation leading to increased violence risk. As Dr. Binks said at termination, Mr.
Hinckley’s violence potential is the last domino to fall in a chain reaction, that starts with
prolonged social isolation, leading to the exacerbation of Mr. Hinckley’s major depression and
psychotic episodes that may involve grandiose delusions. The current psychological testing and
results of the actuarial and structured professional judgment risk methods are consistent with the
conclusions of risk assessments conducted over the past 20 years: Mr. Hinckley’s mental illness
has been in full remission for at least 20 years and he has been at low risk for decompensation
and acts of violence throughout this time.
This report is based on information obtained from multiple sources. It is believed that all
information contained herein is accurate and provides an adequate basis to form both clinical and
forensic opinions. However, if the information is later found to be substantially inaccurate or
should additional relevant information become available, such information may require a review
of and/or an amendment of the opinions stated herein.
The opinions and conclusions contained in this report are offered within a degree of reasonable
psychological certainty. I am available to testify about the findings in this report.


Sincerely,




Mitchell H. Hugonnet, Ph.D
Licensed Psychologist




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